                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                        IN ADMIRALTY

IN RE:
                                                                     CASE NO.: 18-cv-00071-JES-MRM
PETITION OF WILLIAM BOWMAN as titled
owner of and for a 37’ 2012 BOSTON WHALER,
hull identification number BWCE0946B212 her
engines, tackle, and appurtenances, for Exoneration
from or Limitation of Liability,

                               Petitioners.                /

                                      CLAIM OF BENJAMIN BAIR

          Claimant, BENJAMIN BAIR, by and through undersigned counsel and pursuant to

Supplemental Admiralty Rule (F)(5) of the Federal Rules of Civil Procedure, hereby files his claim

for damages against Petitioner, WILLIAM BOWMAN, and alleges as follows:

1.        This is an action for damages for personal injuries and property damage under the general

maritime law of the United States and the laws of the State of Florida.

2.        At all times material hereto, Claimant was a resident of the State of Pennsylvania.

3.        At all times material hereto, Petitioner was a resident of the State of Minnesota.

4.        Claimant seeks damages in excess of $75,000, exclusive of interest and taxable costs.

5.        This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1332 as

the Parties are diverse, and the amount in controversy exceeds the statutory amount.

6.        This Court also has subject matter jurisdiction pursuant to 28 U.S.C. § 1333 as the Claimant

alleges a maritime tort against the Petitioner.

7.        All conditions precedent to the filing of this action have occurred or have been otherwise

excused, discharged, satisfied, or waived.




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8.        At all times material hereto, Petitioner was the owner of the vessel identified in these

proceedings as the 37’ 2012 Boston Whaler, hull identification number BWCE0946B212 (hereinafter

“the vessel”).

9.        On or about August 3, 2017, while Petitioner was onboard, his son, Adam Bowman, was

recklessly, carelessly, and negligently operating Petitioner’s vessel at or near the Mouth of the

Caloosahatchee River in Lee County, Florida, when it collided with Claimant’s 35-foot 1963 Alberg

Sailboat while Claimant and Joseph Lugo were onboard.

10.       Specifically, Claimant was operating his vessel in a no-wake zone going approximately 5

miles per hour just west of the “Miserable Mile” when he and Mr. Lugo noticed Petitioner’s vessel

heading towards them at a high rate of speed.

11.       Petitioner’s vessel struck the midship of Claimant’s vessel causing it to sink. Due to the

collision, Claimant became pinned between his vessel and Petitioner’s before being subsequently

trapped upside down under water as his vessel sank. This collision resulted in serious traumatic

bodily and mental injury to Claimant as well as excessive property damage.

12.       Immediately following the collision, while Claimant struggled to remove himself from the

wreckage, Petitioner and the other passengers onboard Petitioner’s vessel watched on and did

nothing to assist Claimant.

13.       Despite Claimant’s repeated requests for Petitioner and or the other passengers on

Petitioner’s vessel to call 911 and the Fish and Wildlife Commission (FWC), neither were contacted.

14.       Rather than having an ambulance ready for Claimant at the marina as would have happened

if the appropriate law enforcement officials were contacted, Petitioner and the other passengers on

their vessel took their time to clean up their vessel, including alcoholic beverages, before

transporting Claimant and Mr. Lugo to the hospital.



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15.     Upon arriving at the hospital, Petitioner and the other passengers quickly removed Claimant

and Mr. Lugo from their vehicle before immediately leaving the scene.

16.     As a result of Petitioner’s negligence and the careless and reckless operation of Petitioner’s

vessel by Adam Bowman, Claimant suffered traumatic personal injuries, severe emotional distress,

and lost property.

                       COUNT ONE – NEGLIGENT ENTRUSTMENT

17.     Claimant realleges paragraphs 1 through 16, supra, and incorporates them herein.

18.     At all times material hereto, the subject vessel was owned by, and under control of Petitioner

who had power, authority, custody, and dominion over the subject vessel for purposes of permitting

or not permitting his son, Adam Bowman, to operate the boat.

19.     At all times material hereto, Petitioner owed a duty to exercise reasonable care to the public,

including Claimant and Claimant’s passenger, Joseph Lugo, in the use, operation, and entrustment of

the subject vessel.

20.     Petitioner was negligent and breached the duty of care by intentionally, willfully, and/or

recklessly entrusting the subject vessel to his son, Adam Bowman, who due to lack of judgment

and/or experience, among other reasons, was a source of danger to others, including Claimant and

Mr. Lugo. Based upon the circumstances surrounding the subject incident, it was reasonably

foreseeable that the entrustment of the subject vessel to Adam Bowman would create a zone of risk

and result in bodily injuries to others.

21.     Petitioner knew or should have known that Adam Bowman intended or was likely to use the

vessel and/or conduct himself while operating the vessel in such a manner as to create an

unreasonable risk of harm to others, including Claimant and Mr. Lugo.

22.     Petitioner’s breach of the duty of reasonable care encompasses, but is not limited to, the

following acts or omissions:

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       a.       Allowing his son to operate the vessel at high rates of speed;

       b.       Allowing his son to operate the vessel in an unsafe and reckless manner;

       c.       Allowing his son to operate the vessel without proper training or otherwise ensuring
                he was qualified and in the right state of mind to operate the vessel;

       d.       Allowing his son to operate the vessel while intoxicated;

       e.       Unreasonably and carelessly giving permission, authority, and/or consent to his son
                to operate the vessel;

       f.       Failing to take reasonable steps including cautioning, training, guidance and
                instruction to prevent his son from operating the subject vessel at night at a high rate
                of speed in a no wake zone.

       g.       Providing an unseaworthy vessel by failing to provide a competent crew.

23.    All of the aforesaid acts of negligent and/or reckless misconduct occurred or were

occasioned within the privity and knowledge of Petitioner.

24.    As a direct and proximate result of Petitioner’s above mentioned negligent entrustment,

Adam Bowman recklessly, dangerously, negligently, and carelessly operated the vessel causing it to

collide with Claimant’s vessel and cause serious bodily injury to Claimant as well as extensive

property damage to Claimant’s belongings.

25.    As a direct and proximate result of Petitioner’s above mentioned negligent entrustment,

Adam Bowman violated, at a minimum, Fla. Stat. § 327.33(1) and § 327.30(5), and Inland

Navigational Rules 5, 6, 7, and 8, as well as federal, state, Coast Guard and county rules and

ordinances. Furthermore, Petitioner and Adam Bowman left the scene of the subject incident and

failed to notify the appropriate law enforcement officials, ultimately failing to mitigate the damages

caused by their carelessness and/or recklessness.

26.    As a further direct and proximate result of Petitioner’s above mentioned negligent

entrustment, Claimant has suffered serious bodily injury and resulting pain and suffering, severe

mental anguish and emotional distress, loss of capacity for the enjoyment of life, medical,

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psychological, and other related expenses in the past and in the future, lost income in the past, and

loss of earning capacity in the future. These losses are either permanent or continuing.

       WHEREFORE, Claimant respectfully submits that he be allowed to make due proof of his

claim against Petitioner for all losses and damages in an amount in excess of $170,000, plus pre-

judgment and post-judgment interest and costs, that Petitioner’s right to exoneration from or

limitation of liability be denied, and for all such other relief this Honorable Court deems just and

proper under the circumstances.

                        COUNT TWO – NEGLIGENT SUPERVISION

27.    Claimant realleges paragraphs 1 through 16, supra, and incorporates them herein.

28.    At all times material hereto, Petitioner owed a duty to exercise reasonable care to the public,

including Claimant, in the supervision of the use and operation of the subject vessel.

29.    At all times material hereto, the subject vessel was owned by, and under control of Petitioner

who had power, authority, custody, and dominion over the subject vessel for purposes related to the

use thereof and supervision of the vessel by his son, Adam Bowman.

30.    At all times material hereto, Adam Bowman was operating the subject vessel with the

express and/or implied permission of Petitioner.

31.    At the time of the incident, Petitioner was standing at the back of the boat while Adam

Bowman and two minors were standing at the helm.

32.    Petitioner was negligent and beached the duty of care by negligently supervising the use and

operation of the subject vessel while it was being used in a reckless, dangerous, and careless manner

by Adam Bowman. Based upon the circumstances surrounding the operation of his vessel, it was

reasonably foreseeable that the failure to properly supervise the use and operation of the subject

vessel would create a zone of risk and result in bodily injuries to others as Adam Bowman operated

the vessel at excessive speeds while intoxicated without sufficient and/or proper training.

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33.     All of the aforesaid acts of negligent and/or reckless misconduct occurred or were

occasioned within the privity and knowledge of Petitioner.

34.     As a direct and proximate result of Petitioner’s above mentioned negligent supervision,

Adam Bowman recklessly, dangerously, negligently, and carelessly operated the vessel causing it to

collide with Claimant’s vessel and cause serious bodily injury to Claimant as well as extensive

property damage to Claimant’s belongings.

35.     As a direct and proximate result of Petitioner’s above mentioned negligent supervision,

Adam Bowman violated, at a minimum, Fla. Stat. § 327.33(1) and § 327.30(5), and Inland

Navigational Rules 5, 6, 7, and 8, as well as federal, state, Coast Guard and county rules and

ordinances. Furthermore, Petitioner and Adam Bowman left the scene of the subject incident and

failed to notify the appropriate law enforcement officials, ultimately failing to mitigate the damages

caused by their carelessness.

36.     As a further direct and proximate result of Petitioner’s above mentioned negligent

supervision, Claimant has suffered serious bodily injury and resulting pain and suffering, severe

mental anguish and emotional distress, loss of capacity for the enjoyment of life, medical,

psychological, and other related expenses in the past and in the future, lost income in the past, and

loss of earning capacity in the future. These losses are either permanent or continuing.

        WHEREFORE, Claimant respectfully submits that he be allowed to make due proof of his

claim against Petitioner for all losses and damages in an amount in excess of $170,000, plus pre-

judgment and post-judgment interest and costs, that Petitioner’s right to exoneration from or

limitation of liability be denied, and for all such other relief this Honorable Court deems just and

proper under the circumstances.

                                       PUNITIVE DAMAGES

37.     Claimant realleges paragraphs 1 through 36, supra, and incorporates them herein.

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38.     At all times material hereto, Petitioner was onboard his vessel during the subject voyage.

Despite his obvious knowledge that Adam Bowman, due to his lack of judgment and/or experience,

was unfit to operate the vessel, he intentionally, recklessly, and/or willfully entrusted Adam Bowman

to operate the vessel.

39.     Furthermore, throughout the voyage, and especially preceding the subject incident,

Petitioner willfully, recklessly, and/or intentionally allowed Adam Bowman to recklessly operate his

vessel to the point of severely injuring Claimant and his property, as well as causing Claimant to

suffer a near-death experience that continues to haunt him daily.

40.     At all times material hereto, Petitioner, as the owner of the vessel, had the ability to prevent

the subject incident from occurring yet allowed the entire set of events to play out, including failing

to inform law enforcement, or otherwise mitigate the damages caused by his and Adam Bowman’s

reckless, willful, and otherwise intentional misconduct.

41.     Petitioner’s actions clearly reflect an indifference to the safety of those around him and can

only be described as a reckless endangering of the lives of the passengers on Claimant’s vessel.

42.     Accordingly, punitive damages are a proper relief for the allegations contained within this

Claim for Damages and should be assessed against Petitioner in order to “punish the [Petitioner] . . .

and thereby discourage the [Petitioner] . . . from acting in a similar way in the future.” Exxon Shipping

Co. v. Baker, 554 U.S. 471 (2008). Accordingly, Claimant requests judgment against Petitioner for

punitive damages in additional to compensatory damages.

        WHEREFORE, Claimant respectfully submits that he be allowed to make due proof of his

claim against Petitioner for all losses and damages in an amount in excess of $170,000, plus pre-

judgment and post-judgment interest and costs, that Petitioner’s right to exoneration from or

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        Date: March 30, 2018
              Miami, Florida

                                                           Respectfully submitted,

                                                           FOREMAN FRIEDMAN, PA

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                                   CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on March 30, 2018, I electronically filed the foregoing document

with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

served this day on all counsel of record or pro se parties identified on the attached Service List in the

manner specified, either via transmission of Notices of Electronic Filing generated by CM/ECF or

in some other authorized manner for those counsel or parties who are not authorized to

electronically receive Notices of Electronic Filing.


                                                                  /s/ Noah D. Silverman
                                                                     Noah D. Silverman, Esq.




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